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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                                          CRIMINAL ACTION

                v.

COREY MUNFORD                                                     No. 15-376-7


                                        MEMORANDUM

 PRATTER,J.                                                                           JANUARY 12, 2021

         Corey Munford seeks compassionate release under 18 U.S.C. § 3582(c)(l)(A)(i). The

primary basis for his motions is the COVID-19 pandemic and attendant conditions relating to the

pandemic as they may affect him. The Government opposes Mr. Munford's motions. Mr.

Munford also requests the appointment of counsel. For the following reasons, the Court denies

Mr. Munford's motions for compassionate release and his requests for the appointment of counsel. 1

                                             BACKGROUND

    I.      Mr. Munford's Criminal Conduct

         From late 2009 through early 2012, Mr. Munford was part of a large-scale drug trafficking

organization that brought in large quantities of cocaine and marijuana to the Philadelphia area.

(Doc. No. 771 at 1.) In May 2016, Mr. Munford was charged in a superseding indictment with

conspiracy to distribute five kilograms or more of cocaine and 1000 kilograms or more of

marijuana, in violation of 21 U.S.C. § 846, 84l(a)(l), (b)(l)(A) (Count 1); conspiracy to commit




        Prior to filing his motions for compassionate release, Mr. Munford sent three letters requesting the
appointment of counsel. (Doc. Nos. 724, 734, and 737.) Mr. Munford then filed his first motion for
compassionate release in September 2020. (Doc. No. 737.) About two months later, he filed a second
motion for compassionate release, which the Court construes as a supplement to his first. (Doc. No. 763.)
In these motions, Mr. Munford also requested the appointment of counsel. Mr. Munford also sent a letter
in December 2020 seeking an update on his motions for compassionate release and renewing his request
for appointment of counsel. (Doc. No. 776.)


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money laundering, in violation of 18 U.S.C. § 1956(h) (Count 12); and criminal forfeiture under

21 U.S.C. § 853 and 18 U.S.C. § 982(a)(l). (Doc. No. 176.)

         In May 2017, pursuant to a written plea agreement, Mr. Munford pled guilty to the above

drug and money laundering conspiracy counts. (Doc. No. 379.) In December 2017, the Court

sentenced Mr. Munford to 150 months' imprisonment to be followed by five years of supervised

release. (Doc. No. 471 at 2.) The pre-sentence report (PSR) does not reflect that Mr. Munford

had diabetes at the time of sentencing or whether his physical health was raised as an issue.

Mr. Munford states in his initial motion that he was not diagnosed with diabetes until 2019. (Doc.

No. 73 7 at 1.) His reported weight at sentencing was similar to his current weight. PSR ,i 190-91.

         Mr. Munford is currently serving his sentence at FCI Loretto with an anticipated release

date of November 2028. He has served approximately 34 months and has credit for good time

conduct of three months, for a total time credit of approximately 37 months. (Doc. No. 771 at 5.)

Mr. Munford has committed three disciplinary infractions while in custody. In 2018, he failed to

attend GED classes and was absent from an assignment. In early 2020, he possessed a hazardous

tool. (Doc. No. 771 at 5.)

   II.      Mr. Munford's Request for Compassionate Release

         On July 29, 2020, Mr. Munford submitted a request for compassionate release to his

facility's warden. His request was based on two medical conditions: Type 2 diabetes and a body

mass index (BMI) of 43.3, and the risk presented should he contract COVID-19. The warden

denied Mr. Munford's request on August 3, 2020.

         In early September 2020, Mr. Munford submitted a pro se motion for compassionate

release based on the same conditions listed above.        (Doc. No. 737.)      Two months later,

Mr. Munford filed a second motion for compassionate release additionally claiming that his wife




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had contracted COVID-19 and had been hospitalized for multiple days. (Doc. No. 763.) As a

result, he asserted that he was the only available caregiver for a minor child. 2 (Doc. No. 763.)

           Mr. Munford's BOP medical records show that he is 32 years old, with Type 2 diabetes

and a BMI of 42.2. (Doc. No. 772 at 122, 127.) These conditions appear appropriately controlled,

and Mr. Munford receives diabetes medication from his institution.              (Doc. No. 763 at 10.)

Mr. Munford is otherwise fully ambulatory and engages in all normal activities of daily living.

(Doc. No. 771 at 6.) Notably, Mr. Munford contracted COVID-19 in late November 2020. He

remained asymptomatic and is now deemed recovered. (Doc. No. 771 at 6.)

    III.      BOP's Response to the COVID-19 Pandemic

           BOP's "highest priority [is] to continue to do everything [it] can to mitigate the spread of

COVID-19 in [its] facilities," 3 and it has taken significant measures to protect the health of the

inmates in its charge. These measures, among other things, include severely curtailing visitation,

limiting the movement of inmates with special attention to social distancing, and screening and

isolating new inmates. As directed by the Attorney General, BOP is also prioritizing the use of

statutory authority to place eligible prisoners in home confinement. 4 Pursuant to the Coronavirus

Aid, Relief, and Economic Security (CARES) Act, BOP may also "lengthen the maximum amount

of time for which the Director is authorized to place a prisoner in home confinement" in the event

the Attorney General finds that emergency conditions will materially affect the functioning of




2
         The Government notes that Mr. Munford describes the minor as his child, but it appears that he is
the minor's stepfather. The PSR shows that Munford married his wife in 2016 and they do not have any
children, but his wife has a child (who was five years old at the time of the December 2017 PSR) from a
prior relationship and the child's biological father is not a part of her life. PSR ,i 186.
3
         BOP, BOP Modified Operations (last updated Nov. 25, 2020), available at
https://www.bop.gov/coronavirus/covid19_status.jsp (last visited Jan. 11, 2021).
4
         This authority includes the ability to place an inmate in home confinement during the last six
months or the remaining 10% of a sentence, whichever is shorter, 18 U.S.C. § 3624(c)(2), and to move
elderly and terminally ill inmates specified in 34 U.S.C. § 60541(g) to home confinement.


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BOP. Pub. L. No. 116-136 § 12003(b)(2). In April 2020, the Attorney General gave the Director

of BOP the authority to exercise this discretion, beginning at the facilities that have seen the

greatest incidence of COVID-19 transmission thus far.

        BOP's efforts at combating the effects of the pandemic at FCI Loretto were successful for

most of 2020, with a limited number of positive cases in the inmate population. (Doc. No. 771 at

7.) In November 2020, the facility experienced a large outbreak and almost all of its inmates were

infected. (Doc. No. 771 at 7.) FCI Loretto houses 841 inmates. As of January 11, 2021, there are

currently no COVID-positive inmates. Sixteen staff members are currently COVID-positive. 5

Overall, 726 inmates and 46 staff members have recovered from COVID-19 at FCI Loretto. There

have been no COVID-19 related deaths at FCI Loretto.

                                           LEGAL STANDARD

        "[A]s a general matter, a court cannot modify a term of imprisonment after it has been

imposed without specific authorization." McMillan v. United States, 257 F. App'x 477, 479 (3d

Cir. 2007). However, a defendant can move to reduce his or her term of imprisonment under 18

U.S.C. § 3582(c)(l)(A). In order to do so, the defendant must first request that the BOP file a

motion on his or her behalf, 6 which can only occur after he or she has "fully exhausted all

administrative rights to appeal a failure of the Bureau of Prisons to bring a motion on the

defendant's behalf or the lapse of 30 days from the receipt of such a request by the warden of the

defendant's facility, whichever is earlier." 18 U.S.C. § 3582(c)(l)(A).




5
          The data is current as of January 11, 2021, according to the BOP website, available at
https ://www.bop.gov/coronavirus.
6
          "The recently enacted First Step Act allows 'incarcerated defendants to seek compassionate release
from a court on their own motion, not just through the Bureau of Prisons."' United States v. Perri, No. 15-
cr-486, 2020 WL 6324384, at *2 (E.D. Pa. Oct. 28, 2020) (quoting United States v. Mark, No. 10-cr-742-
1, 2020 WL 5801495, *1 (E.D. Pa. Sept. 29, 2020)).


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        In the event the moving defendant complies with the exhaustion requirement, a court may

reduce his or her term of imprisonment if it finds that extraordinary and compelling reasons

warrant such a reduction, that the reduction is consistent with the Sentencing Commission's

applicable policy statements,7 and that the § 3553(a) factors favor reduction. Pursuant to the

Sentencing Commission's relevant policy statement, a court must also find that the defendant is

not a danger to the safety of any person or the community as provided in 18 U.S.C. § 3142(g).

U.S.S.G. § lBl.13(2).

        Although Congress has not defined the term "extraordinary and compelling," the

Sentencing Commission has issued an application note to its relevant policy statement which

provides guidance for defining the conjunctive term. Application Note 1 provides, in pertinent

part, that a defendant's non-terminal illness may constitute an extraordinary and compelling

justification where "the defendant is suffering from a serious physical or medical condition ...

that substantially diminishes the ability of the defendant to provide self-care within the

environment of a correctional facility and from which he or she is not expected to recover."

U.S.S.G. § lBl.13.

        A court considers multiple factors under 18 U.S.C. § 3553(a), including, among other

things, ( 1) "the nature and circumstances of the offense and the history and characteristics of the

defendant"; (2) "the need for the sentence imposed ... to protect the public from further crimes of

the defendant"; (3) "the need for the sentence imposed ... to afford adequate deterrence to criminal



7
         Despite § 3582(c)(l)(A) mandating that a reduction in sentence be "consistent with applicable
policy statements issued by the Sentencing Commission," "the policy statement is now clearly outdated"
in light of the Sentencing Commission's failure to update its policy statement to account for the changes
imposed in light of the amendment to § 3582(c)(l)(A) by the First Step Act of 2018. United States v.
Rodriguez, 451 F. Supp. 3d 392, 397 (E.D. Pa. Apr. 1, 2020). Therefore, although the policy statement
undoubtedly provides helpful guidance, it "does not limit the Court's independent assessment of whether
'extraordinary and compelling reasons' exist under§ 3582(c)(l)(A)(i)." Id. at 398.


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conduct"; and (4) "the need for the sentenced imposed ... to reflect the seriousness of the offense,

to promote respect for the law, and to provide just punishment for the offense." The defendant

bears the burden of showing that a reduction in sentence is proper. See United States v. Rengifo,

No. 13-131, 2020 WL 4206146, at *2 (M.D. Pa. July 22, 2020) (citing United States v. Jones, 836

F.3d 896, 899 (8th Cir. 2016)); United States v. Green, 764 F.3d 1352, 1356 (11th Cir. 2014).

                                              DISCUSSION

    I.      Compassionate Release

         The Court certainly does not minimize the critical health risk posed by COVID-19. But as

very concerning as the current pandemic is, resolving Mr. Munford's motion still requires the

Court to take into serious consideration the limits imposed pursuant to 18 U.S.C.

§ 3582(c)(1 )(A)(i). Mr. Munford bases his request for relief on his diabetes, BMI, and the need to

care for a minor child.

         Although COVID-19 is a dangerous, and sometimes lethal, virus for all individuals, the

Centers for Disease Control and Prevention (CDC) has deemed certain people with specific

underlying medical conditions and the elderly to be at a heightened risk of severe illness or death. 8

"While this court is not bound by the CDC's guidelines, it follows suit with many other district

courts who have turned to the guidance as reliably informative." United States v. Perri, No. 15-

cr-486, 2020 WL 6324384, at *2 (E.D. Pa. Oct. 28, 2020) (listing cases).

         But for COVID-19, Mr. Munford would likely present no basis at all for compassionate

release. In light of the COVID-19 pandemic, Mr. Munford asserts that he is more susceptible to

complications from COVID-19 due to his Type 2 diabetes and BMI over 40. (Doc. No. 773 at 1.)



8
        See People at Increased Risk, Centers for Disease Control and Prevention (Jan. 4, 2021 ), available
at https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/index.html (last visited Jan. 11,
2021).


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The Government acknowledges that an inmate who presents a risk factor identified by the CDC as

increasing the risk of an adverse outcome from COVID-19 presents "a serious physical or medical

condition ... that substantially diminishes the ability of the defendant to provide self-care within

the environment of a correctional facility." See U.S.S.G. § 1B1.13 n.l. The CDC recognizes both

Type 2 diabetes and severe obesity (a BMI greater than 40) as underlying medical conditions that

put an individual at an "increased risk of severe illness" from COVID-19. 9 Mr. Munford's BOP

medical records confirm that he has Type 2 diabetes and that his BMI is over 40.

       However, courts routinely deny motions for the extraordinary remedy of compassionate

relief based on potential COVID-19 risk factors. See, e.g., United States v. Moldover, No. CR 14-

637, 2020 WL 6731111, at *9 (E.D. Pa. Nov. 13, 2020) (defendant's asthma, hypertension, and

obesity did not constitute extraordinary and compelling reason for release); United States v.

Ackerman, No. CR 11-740-KSM-l, 2020 WL 5017618, at *5 (E.D. Pa. Aug. 25,

2020) (compassionate release not warranted because "there is no there is no indication that the

defendant's hypertension cannot be properly controlled via medication or other appropriate

medical care").    Mr. Munford has not established that his medical conditions-although

problematic-are not monitored and appropriately managed with medication at FCI Loretto.

       Furthermore, despite the increased risk these conditions pose, Mr. Munford has actually

contracted COVID-19 and has had the good fortune to have recovered without presenting any

apparent symptoms. (Doc. No. 771 at 12.) The risk of reinfection after a prior positive test for

COVID-19 is a not basis for compassionate release here. See, e.g., United States v. Wiltshire, No.

CR 11-310, 2020 WL 7263184, at *6 (E.D. Pa. Dec. 9, 2020). Presently, there is no scientific



9
       People with Certain Medical Conditions, Centers for Disease Control and Prevention (Dec. 29,
2020), available at https ://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-
medical-conditions.html (last visited Jan. 11, 2021).


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consensus on the risk of reinfection. Because COVID-19 poses a general threat to every non-

immune individual, the mere existence of the disease does not provide a basis for a sentence

reduction on its own. See United States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020). This Court is

unable to find a case where compassionate release was granted to a defendant who recovered from

COVID-19 and was asymptomatic. To the contrary, other "[c]ourts have repeatedly denied

COVID-19-based motions for compassionate release filed by inmates who have already contracted

and recovered from the virus." See United States v. Hames, No. 4:09-CR-39(1), 2020 WL

6585665, at* 1 (E.D. Tex. Nov. 10, 2020) (collecting cases); United States v. Peuse, No. 17-CR-

00598-LHK, 2020 WL 5076356 (N.D. Cal. Aug. 24, 2020) (same).

        In his most recent compassionate release motion, Mr. Munford states that his wife

contracted COVID-19, was out of work for weeks, and had been "hospitalized for multiple days

before the virus turned into pneumonia." (Doc. No. 763 at 5.) He does not substantiate these

claims with any medical documentation or other evidence. Nevertheless, as a result, Mr. Munford

asserts that he is the "only available caregiver for my minor child." (Doc. No. 763 at 5.) The

Court is certainly sympathetic to Mr. Munford's wife's situation. However, Mr. Munford's

submission suggests that his wife is no longer hospitalized and has likely recovered. Mr. Munford

did not explain to the Court who cared for the minor child while Mr. Munford's wife was in the

hospital.   In any case, as of now, it does not appear that Mr. Munford's wife is currently

incapacitated or otherwise unable to care for the child, or that Mr. Munford would be the child's

only caregiver. Thus, the situation concerning a child does not provide an extraordinary and

compelling reason for Mr. Munford's compassionate release. 10


10
        See U.S.S.G. § 1B1.13 n.l(C) (defining family circumstances as compelling in the case of the
"death or incapacitation of the caregiver of the defendant's minor child," or "incapacitation of the
defendant's spouse or registered partner when the defendant would be the only available caregiver for the
spouse or registered partner.").


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       As to the current situation at FCI Loretto, the Court in no way minimizes the threat that

COVID-19 poses. There was an outbreak at FCI Loretto in November 2020, and given the extent

of that outbreak, almost all inmates were infected. That said, as mentioned above, as of January

11, 2021, FCI Loretto reports zero inmates and 16 staff members are COVID-positive. 11 The

COVID-19 pandemic remains a fluid and serious situation, and the BOP website continues to

provide transparent information with the community about positive cases and recoveries.

       Even if Mr. Munford presented extraordinary and compelling reasons warranting his

compassionate release, consideration of the § 3553(a) factors necessitates a denial of Mr.

Munford's motion. He has failed to show how releasing him before he serves the full term (or a

much more significant portion) of his sentence would align with the statutory sentencing factors,

notably the seriousness of his offense, the need to promote respect for the law, the need to provide

just punishment for the offense, and the need to deter others from similar criminality. See 18

U.S.C. § 3553(a).

       Mr. Munford was a key participant in a significant drug trafficking organization. He

conspired, among other things, to distribute a substantial amount of cocaine and marijuana, and to

launder money. (Doc. No. 771 at 14.) These crimes were also committed while Mr. Munford was

under supervision in two state cases. (Doc. No. 771 at 14.) While the Court certainly commends

Mr. Munford for completing several programs while incarcerated and his "new respect for the

law," it is clear on an objective basis that he still continues to present a danger to the community.

(Doc. No. 737 at 2-3.) Despite Mr. Munford's underlying medical conditions, his crimes were

serious, and an early release would not provide just punishment or serve as a deterrent to others.

See United States v. Pawlowski, 967 F.3d 327, 331 (3d Cir. 2020) (noting district court reasonably


11
         The data is current as of January 11, 2021, according to the BOP website, available at
https://www.bop.gov/coronavirus.


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concluded early release not warranted where defendant's "crimes were extraordinarily serious"

and required "a significant period of incarceration").

         Mr. Munford has not yet served a significant portion of his sentence. Accounting for good

conduct time, he has served approximately 37 months, or just under 25%, of his 150-month

sentence. An early release would be contrary to the§ 3553(a) factors. See United States v. Torres,

No. 18-cr-414, 2020 WL 3498156, at *10 (E.D. Pa. June 29, 2020) (denying compassionate release

for 36-year-old inmate with mild asthma due to seriousness of his crime and having served 15%

of 63-month sentence); United States v. Shulick, No. 16-cr-428, 2020 WL 3250584, at *5 (E.D.

Pa. June 16, 2020) (denying compassionate release where defendant had served 19 months of a

60-month sentence for embezzlement, fraud, and filing false tax returns).

   II.       Appointment of Counsel

         As noted above, Mr. Munford sent three letters requesting the appointment of counsel to

help him file a motion for compassionate release. (Doc. Nos. 724, 734, and 737.) Since then, Mr.

Munford has filed two pro se motions for compassionate release, in which he also requested the

appointment of counsel. (Doc. Nos. 737, 763.) While indigent civil litigants have no constitutional

or statutory right to appointed counsel, a district court has the authority to "request an attorney to

represent any person unable to afford counsel." 28 U.S.C. § 1915(e)(l). "As a threshold matter,

a district court must assess whether the claimant's case has some arguable merit in fact and law."

Montgomery v. Pinchak, 294 F.3d 492, 498-99 (3d Cir. 2002). If a claimant overcomes this

threshold hurdle, then a court must consider several factors identified by the Third Circuit,

including:

         1. the plaintiffs ability to present his or her own case;
         2. the difficulty of the particular legal issues;
         3. the degree to which factual investigation will be necessary and the ability of the plaintiff
         to pursue investigation;



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        4. the plaintiffs capacity to retain counsel on his or her own behalf;
        5. the extent to which a case is likely to tum on credibility determinations, and;
        6. whether the case will require testimony from expert witnesses.

Id. at 499 (citing Tabron v. Grace, 6 F.3d 147, 155-57 (3d Cir.1993)). Finding Mr. Munford's

motions for compassionate release to arguably have some merit, the Court will now analyze each

Tabron factor.

       First, Mr. Munford has been able to present his own arguments regarding compassionate

release. He filed two motions for compassionate release, one in September 2020, and another in

November 2020, in which he included several attachments. Second, the legal issues involved here

are relatively straightforward. Mr. Munford sought relief under 18 U.S.C. § 3582(c)(l)(A). In his

first motion, Mr. Munford explained that his diabetes and high BMI presented extraordinary and

compelling circumstances for his release. (Doc. No. 737.) In his second motion, Mr. Munford

noted that his wife was hospitalized due to contracting COVID-19 and that he was the only

available caregiver for a minor child. (Doc. No. 763 at 5.) Thus, Mr. Munford was able to clearly

articulate the reasons why he thought he was entitled to compassionate release. Third, the Court

is unaware what factual investigation would be necessary here and therefore, this factor does not

weigh in favor of appointment of counsel. Fourth, because the Court does not know whether

Mr. Munford could retain counsel on his own behalf, given that he is currently incarcerated, the

Court will assume that this factor weighs in his favor. As to the fifth and sixth factors, there is no

indication that Mr. Munford's request for compassionate release is based on credibility

determinations or that any expert testimony would be required.

       Because only one, if any, of the Tabron factors weighs in favor of the appointment of

counsel, the Court finds appointment of counsel inappropriate and will deny Mr. Munford's

requests.




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                                        CONCLUSION

       For the foregoing reasons, the Court denies Mr. Munford's motions for compassionate

release under 18 U.S.C. § 3582(c)(l)(A)(i) and his requests for counsel. An appropriate order

follows.




                                                       ED STATES DISTRICT JUDGE




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